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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TENNESSEE
                                   AT MEMPHIS

   SATURN OF MEMPHIS, INC.                      )
                                                )
          Plaintiff,                            )
                                                )
          v.                                    )       No. 2:08-cv-02687
                                                )
   UNIVERSAL UNDERWRITERS,                      )
   INSURANCE COMPANY                            )
                                                )
          Defendant.                            )
                                                )


                  STIPULATION OF DISMISSAL WITH PREJUDICE

          COME the parties, by and through counsel of record, pursuant to Rule

   41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, and file this their Stipulation of

   Dismissal with Prejudice with each party bearing its own costs and expenses.




                                        Respectfully submitted,



                                        /s/ Douglas A. Black_______________
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